 Case 5:24-cv-12820-JEL-APP ECF No. 5, PageID.10 Filed 11/05/24 Page 1 of 3




                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION


Daniel McGough,

                        Plaintiff,    Case No. 24-cv-12820

v.                                    Judith E. Levy
                                      United States District Judge
Victoria I. Shackelford, et al.,
                                      Mag. Judge Anthony P. Patti
                        Defendants.

________________________________/

                  ORDER STRIKING COMPLAINT [1]

       The Court has reviewed the complaint filed by Plaintiff Daniel

McGough. (ECF No. 1.) The Court strikes that document for the

following reason(s):

     ☐ Missing statement of concurrence or the statement of concurrence
       does not comply with Local Rule 7.1(a). See E.D. Mich. LR 7.1(a).

     ☐ Wrong font size or improper formatting (e.g., single-spaced,
       improper margins, no page numbers, etc.). See E.D. Mich. LR
       5.1(a)(2)–(3).

     ☐ Over-length. See E.D. Mich. LR 7.1(d)(3).

     ☐ Brief missing required information (e.g., concise statement of
       issues, controlling or most appropriate authority). See E.D. Mich.
       LR 7.1(d)(2).
 Case 5:24-cv-12820-JEL-APP ECF No. 5, PageID.11 Filed 11/05/24 Page 2 of 3




  ☐ Exhibits do not comply with Rule 19(b) of the Electronic Filing
    Policies and Procedures (e.g., index, separate attachment for each
    exhibit). See E.D. Mich. LR 5.1(d)(1), 5.1.1(a).

  ☐ Contains information that must be redacted (e.g., social security
    number, taxpayer identification number, birth date, minor’s name,
    financial account number). See Fed. R. Civ. P. 5.2.

  ☐ Non-compliance with Local Rule 5.3 regarding filing an item under
    seal in a civil case. See E.D. Mich. LR 5.3.

  ☐ Failure to comply with the discovery dispute protocol set forth in
    the Court’s Practice Guidelines. See Judge Judith E. Levy, United
    States District Court for the Eastern District of Michigan,
    https://www.mied.uscourts.gov/index.cfm?pageFunction=chambers
    &judgeid=44.

  ☒ Other: The complaint is not signed by Plaintiff, who is self-
   represented. See Fed. R. Civ. P. 11(a).

     The document (ECF No. 1) is STRICKEN and not part of the

record. By November 18, 2024, Plaintiff must file an amended

complaint that contains his handwritten signature.

     IT IS SO ORDERED.

Dated: November 5, 2024                  s/Judith E. Levy
     Ann Arbor, Michigan                 JUDITH E. LEVY
                                         United States District Judge




                                     2
 Case 5:24-cv-12820-JEL-APP ECF No. 5, PageID.12 Filed 11/05/24 Page 3 of 3




                    CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing document was served
upon counsel of record and any unrepresented parties via the Court’s
ECF System to their respective email or first-class U.S. mail addresses
disclosed on the Notice of Electronic Filing on November 5, 2024.

                                         s/William Barkholz
                                         WILLIAM BARKHOLZ
                                         Case Manager




                                     3
